UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF PENNSYLVANIA

UNITED STATES OF AMERICA: OR. NO. 3:23-0R- 2 - MeN

Vv.
(Judge )
SHANE BURNS, :
CHRISTINA PATACKY-BEGHIN, . :
HOWARD BELL, a/k/a, “Nitty,”
KEVIN JONES, a/k/a “Hat,”
RAHMEL WIGFALL, a/k/a “Inf,”
SAMANTHA SMART,

"MAURICE FAULKNER, a/k/a “Moe,”

- MERCEDES SMITH, FILED
SHAYNA COLON ACOSTA, SCRANTON
GIAVANNA TERESA TWYMAN, — : :
SABRINA CLEVELAND, oo: FEB 14 2023
ROBERT THOMPSON, a/k/a PER OnD
“THUGGA,” - DEPU/JY CLERK

_FATIEEM GRADY, :
YUAMIR GRAYSON,

RACHEL SMYDEN,
Defendants.

INDICTMENT

THE GRAND JURY CHARGES:
COUNT 1
21 U.S.C. § 846
(Conspiracy to Possess and Distribute Controlled Substances)
From in or about January 2020, the exact date being unknown to

the Grand Jury, to on or about the date of this Indictment, within the

Middle District of Pennsylvania and elsewhere, the defendants,
SHANE BURNS,
CHRISTINA PATACKY-BEGHIN,
HOWARD BELL, a/k/a “Nitty,”
KEVIN JONES, a/k/a “Hat,”
RAHMEL WIGFALL, a/k/a “Inf”
SAMANTHA SMART,
MAURICE FAULKNER, a/k/a “Moe,”
MERCEDES SMITH,
SHAYNA COLON ACOSTA,
GIAVANNA TERESA TWYMAN,
SABRINA CLEVELAND,
ROBERT THOMPSON, a/k/a “THUGGA,”
FATIEEM GRADY,
YUAMIR GRAYSON, and
RACHEL SMYDEN,

did knowingly, intentionally and unlawfully combine, conspire,
confederate and agree with each other and with persons known and
unknown to the Grand Jury, to commit offenses against the United
States, namely: to knowingly, intentionally and unlawfully distribute,
and possess with intent to distribute a mixture and substance
containing a detectable amount of fentanyl, a Schedule II controlled
substance, in violation of 21 U.S.C. Sections 841(a)(1), 841(b)(1)(A) and

(C).
QUANTITY OF CONTROLLED SUBSTANCES
INVOLVED IN THE CONPIRACY

The amount of a mixture and substance containing a detectable
amount of fentanyl involved in the conspiracy that is attributable to
each of the defendants as a result of his or her own conduct, and the
conduct of other co-conspirators reasonably foreseeable to him or her, is
as follows:

1. SHANE BURNS: in excess of 400 grams of a mixture and
substance containing a detectable amount of fentanyl.

2. CHRISTINA PATACKY-BEGHIN: in excess of 400 grams of
a mixture and substance containing a detectable amount of fentanyl.

3. HOWARD BELL, alk/a “Nitty”: in excess of 400 grams of a
mixture and substance containing a detectable amount of fentanyl.

4. KEVIN JONES, a/k/a “Hat”: in excess of 400 erams of a
mixture and substance containing a detectable amount of fentanyl.

5.  RAHMEL WIGFALL, a/k/a “Inf’: in excess of 400 grams of a
mixture and substance containing a detectable amount of fentanyl.

6. SAMANTHA SMART: an unspecified amount of a mixture

and substance containing a detectable amount of fentanyl.

3
7. MAURICE FAULKNER, a/k/a “Moe”: an unspecified
amount of a mixture and substance containing a detectable amount of
fentanyl.

8. MERCEDES SMITH: an unspecified amount of a mixture
and substance containing a detectable amount of fentanyl.

9. SHAYNA COLON ACOSTA: an unspecified amount of a
mixture and substance containing a detectable amount of fentanyl.

10. GIAVANNA TERESA TWYMAN:. an unspecified amount of
a mixture and substance containing a detectable amount of fentanyl.

11. SABRINA CLEVELAND: an unspecified amount of a
mixture and substance containing a detectable amount of fentanyl.

12. ROBERT THOMPSON, alkla “Thugga’: an unspecified
amount of a mixture and substance containing a detectable amount of
fentanyl.

18. FATIEEM GRADY: an unspecified amount of a mixture and
substance containing a detectable amount of fentany]l..

14. YUAMIR GRAYSON: an unspecified amount of a mixture

and substance containing a detectable amount of fentanyl.
15. RACHEL SMYDEN: an unspecified amount of a mixture
and substance containing a detectable amount of fentanyl. —

Before SHANE BURNS committed the offense charged in this
count, SHANE BURNS had a final conviction for a serious drug felony,
namely, a conviction under Arizona Criminal Statute 13-3408A2,
Narcotic Drug Possession for Sale (Case No. CR-2018-129241-001), for
which he served more than 12 months of imprisonment and for which
he was released from serving any term of imprisonment related to that
offense within 15 years of the commencement of the instant offense.

Before HOWARD BELL, a/k/a “Nitty,” committed the offense
charged in this count, HOWARD BELL, a/k/a “Nitty,” had a final
conviction for a serious drug felony, namely, a conviction under 35
Pa.C.S.A. § 780-118 §§ A-30, Manufacture, Delivery, or Possession with
Intent to Manufacture or Deliver Controlled Substances (Case No. CP-
40-CR-858 -2006 and CP-40-CR-860 -2006 ), for which he served more
than 12 months of imprisonment and for which he was released from
serving any term of imprisonment related to that offense within 15

years of the commencement of the instant offense. Also, HOWARD
ee

BELL, a/k/a “Nitty,” had a final conviction for a serious drug felony,
namely, a conviction under 35 Pa.C.S.A. § 780-113 §§ A-30,
Manufacture, Delivery, or Possession with Intent to Manufacture or

Deliver Controlled Substances (Case No. CP-40-CR-1157-2006), for

which he served more than 12 months ef imprisonment and for which

-. he was released from serving any term ‘of imprisonment related to that

: offense within 15 years of the commencement of the instant offense

Before KEVIN JONES, a/k/a “Hat,” committed the offense charged
in this count, KEVIN JONES, a/k/a “Hat,” had a had a final conviction
for a serious violent felony, namely, a conviction under 18 U.S.C. §
924(c), Possession of a Firearm During and in Relation to a Drug
Trafficking Felony, (Case No. 3:CR-03-045), for which he served more
than 12 months of imprisonment and for which he was released from
serving any term of imprisonment related to that offense within 15
years of the commencement of the instant offense.

Before RAHMEL WIGFALL, a/k/a “Inf,” committed the offense
charged in this count, RAHMEL WIGFALL, a/k/a “Inf,” had a final

conviction for a serious drug felony, namely, a conviction under 35
Pa.C.S.A. § 780-118 §§ A-30, Manufacture, Delivery, or Possession with
Intent to Manufacture or Deliver Controlled Substances (Case No. CP-
35-CR-2304-2016), for which he served more than 12 months of
imprisonment and for which he was released from serving any term of
imprisonment related to that offense within 15 years of the
commencement of the instant offense. Also, RAHMEL WIGFALL, a/k/a --
“Inf,” had a final conviction for a serious drug felony, namely, a
conviction under 35 Pa.C.S.A. § 780-113 §§ A-30, Manufacture,
Delivery, or Possession with Intent to Manufacture or Deliver
Controlled Substances (Case No. CP-35-CR-282-2014), for which he
served more than 12 months of imprisonment and for which he was
released from serving any term of imprisonment related to that offense
within 15 years of the commencement of the instant offense. Also,
RAHMEL WIGFALL, a/k/a “Inf,” had a final conviction for a serious
drug felony, namely, a conviction under 35 Pa.C.S.A. § 780-113 §§ A-30,
Manufacture, Delivery, or Possession with Intent to Manufacture or
Deliver Controlled Substances (Case No. CP-40-CR-2336-2009), for

which he served more than 12 months of imprisonment and for which
he was released from serving any term of imprisonment related to that
offense within 15 years of the commencement of the instant offense.
In violation of Title 21, United States Code, Sections 846,

841(a)(1), 841(b)(1)(A) and (C).

THE GRAND JURY FURTHER CHARGES:
COUNT 2
21 U.S.C. § 841(a)(1)

(Possession with Intent to Distribute a Controlled Substance)

On or about February 4, 2021, within the Middle District of
Pennsylvania and elsewhere, the defendant,

SAMANTHA SMART,

aided and abetted by others, did knowingly, intentionally and —
unlawfully possess with intent to distribute an unspecified amount of a
mixture and substance containing a detectable amount of fentanyl, a
Schedule IT controlled substance.

In violation of Title 21, United States Code, Sections 841(a)(1),

841(b)(1)(C) and Title 18, United States Code, Section 2.
THE GRAND JURY FURTHER CHARGES:
— COUNT 3
21 U.S.C. § 841(a)(1)
(Possession with Intent to Distribute a Controlled Substance)
On or about March 18, 2021, within the Middle District of
Pennsylvania and elsewhere, the defendant,
RACHEL SMYDEN,
aided and abetted by others, did knowingly, intentionally and
unlawfully possess with intent to distribute an unspecified amount of a
mixture and substance containing a detectable amount of fentanyl, a
Schedule II controlled substance.
In violation of Title 21, United States Code, Sections 841(a)(1), |

4

841(b)(1)(C) and Title 18, United States Code, Section 2.
THE GRAND JURY FURTHER CHARGES:
COUNT 4
21 U.S.C. § 841(a)(1)
(Possession with Intent to Distribute a Controlled Substance)
On or about November 5, 2021, within the Middle District of

Pennsylvania and elsewhere, the defendants,

RAHMEL WIGFALL, a/k/a “Inf,”
MERCEDES SMITH, and
SHAYNA COLON ACOSTA,
aiding and abetting each other and aided and abetted by others, did
knowingly, intentionally and unlawfully possess with intent to
distribute an unspecified amount of a mixture and substance containing
a detectable amount of fentanyl, a Schedule II controlled substance.

In violation of Title 21, United States Code, Sections 841(a)(1),

841(b)(1)(C) and Title 18, United States Code, Section 2.

10
THE GRAND JURY FURTHER CHARGES:

Oe COUNT 5
21 U.S.C. § 841(a)(1)
(Distribution of a Controlled Substance)
On or about December 29, 2021, within the Middle District of
Pennsylvania and elsewhere, the defendant,
HOWARD BELL, a/k/a “Nitty,”
aided and abetted by others, did knowingly, intentionally and
. unlawfully possess with intent to distribute and did distribute an
unspecified amount of a mixture and substance containing a detectable
amount of fentany], a Schedule II controlled substance.

In violation of Title 21, United States Code, Sections 841(a)(1),

841(b)(1)(C) and Title 18, United States Code, Section 2.

11
THE GRAND JURY FURTHER CHARGES:

21 U.S.C. § 841(a)(1)
(Distribution of a Controlled Substance)
On or about March 17, 2022, within the Middle District of

Pennsylvania and elsewhere, the defendants,

SHANE BURNS and
CHRISTINA PATACKY-BEGHIN,

aiding and abetting each other and aided and abetted by others, did
knowingly, intentionally and unlawfully possess with intent to
distribute and did distribute 40 grams and more of a mixture and
substance containing a detectable amount of fentanyl, a Schedule IT
controlled substance.

Before SHANE BURNS committed the offense charged in this
count, SHANE BURNS had a final conviction for a serious drug felony,
namely, a conviction under Arizona Criminal Statute 13-3408A2,
Narcotic Drug Possession for Sale (Case No. CR-2018-129241-001), for
which he served more than 12 months of imprisonment and for which
he was released from serving any term of imprisonment related to that

offense within 15 years of the commencement of the instant offense.

12
In violation of Title 21, United States Code, Sections 841(a)(1),

841(b)(1)(B) and Title 18, United States Code, Section2.
THE GRAND JURY FURTHER CHARGES:
COUNT 7
21 U.S.C. § 841(a)(1) L
(Distribution of a Controlled Substance) i
On or about April 11, 2022, within the Middle District of

Pennsylvania and elsewhere, the defendants,

SHANE BURNS and
CHRISTINA PATACKY-BEGHIN,

aiding and abetting each other and aided and abetted by others, did
knowingly, intentionally and unlawfully possess with intent to
distribute and did distribute 40 grams and more of a mixture and
substance containing a detectable amount of fentanyl, a Schedule II
controlled substance.

Before SHANE BURNS committed the offense charged in this
count, SHANE BURNS had a final conviction for a serious drug felony,
namely, a conviction under Arizona Criminal Statute 13-3408A2,

Narcotic Drug Possession for Sale (Case No. CR-2018-129241-001), for

13
which he served more than 12 months of imprisonment and for which
he was released from serving any term of imprisonment related to that
offense within 15 years of the commencement of the instant offense.

In violation of Title 21, United States Code, Sections 841(a)(1),

841(b)(1)(B) and Title 18, United States Code, Section 2.

THE GRAND JURY FURTHER CHARGES:

COUNT 8
21 U.S.C. § 841(a)(1)
(Distribution of a Controlled Substance)
On or about April 29, 2022, within the Middle District of

Pennsylvania and elsewhere, the defendants,

. SHANE BURNS and
CHRISTINA PATACKY-BEGHIN,

aiding and abetting each other and aided and abetted by others, did
knowingly, intentionally and unlawfully possess with intent to
distribute and did distribute 40 grams and more of a mixture and
substance containing a detectable amount of fentanyl, a Schedule IT

controlled substance.

14
Before SHANE BURNS committed the offense charged in this
“count, SHANE BURNS had a final conviction for a serious drug felony, .

namely, a conviction under Arizona Criminal Statute 13-3408A2,
Narcotic Drug Possession for Sale (Case No. CR-2018-129241-001), for
which he served more than 12 months of imprisonment and for which
he was released from serving any term of imprisonment related to that
offense within 15 years of the commencement of the instant offense.

In violation of Title 21, United States Code, Sections 841(a)(1),

841(b)(1)(B) and Title 18, United States Code, Section 2.

15
THE GRAND JURY FURTHER FINDS PROBABLE CAUSE:
FORFEITURE ALLEGATION

1. The allegations contained in Counts 1 through 8 of this _
Indictment are hereby realleged and incorporated by reference for the
purpose of alleging forfeitures pursuant to Title 21, United States Code,
Section 858.

2. Pursuant to Title 21, United States Code, Section 853, upon

conviction of an offense in violation of Title 21, United States Code,

Sections 841(a)(1), 841(b)(1)(A), 841(b)(1)(B), 841(b)(1)(C), or 846, the
defendants,

SHANE BURNS,
CHRISTINA PATACY-BEGHIN,
HOWARD BELL, a/k/a “Nitty,”
KEVIN JONES, a/k/a “Hat,”
RAHMEL WIGFALL, a/k/a “Inf?
SAMANTHA SMART,
" MAURICE FAULKNER, a/k/a “Moe,”
MERCEDES SMITH,
SHAYNA COLON ACOSTA,
GIAVANNA TERESA TWYMAN,
SABRINA CLEVELAND,
ROBERT THOMPSON, a/k/a “THUGGA,”
FATIEEM GRADY,
YUAMIR GRAYSON, and
RACHEL SMYDEN,

16
shall forfeit to the United States of America any property constituting,

or derived from, any proceeds obtained, directly or indirectly, asthe

result of such offenses and any property used, or intended to be used, in

any manner or part, to commit, or to facilitate the commission of, the

offense(s).

If any of the property described-above, as a result of any act or

omission of the defendants:

a.

b.

cannot be located upon the exercise of due diligence;

has been transferred or sold to, or deposited with, a
third party;

has been placed beyond the jurisdiction of the court;
has been substantially diminished in value; or

has been commingled with other property which cannot
be divided without difficulty,

17
the United States of America shall be entitled to forfeiture of substitute |

property pursuant to Title 21, United States Code, Section 853(p). oe

A TRUE BILL

GERARD M. KARAM
United States Attorney

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HELLE OLS
Assistant United States Attorney

18
